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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11   L.A. GEM AND JEWELRY DESIGN,               No. 2:20-CV-01431 JAK (SKx)
12   INC.,
                                                ORDER RE RENEWED JOINT
13               Plaintiff,                     STIPULATION RE ENTRY OF
14               v.                             PROPOSED CONSENT JUDGMENT
                                                (DKT. 104)
15
     D & M DENTAL LABORATORY INC,
16   et al.                       JS-6
17
18               Defendants.
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22         Based on a review of the parties’ Renewed Joint Stipulation Re Entry of Proposed
23   Consent Judgment (the “Stipulation” (Dkt. 104)), sufficient good cause has been shown
24   for the requested relief. Therefore, the Stipulation is APPROVED. This Consent
25   Judgment shall be and is hereby entered as follows:
26         1.    This Court has jurisdiction over the parties to this action and over the subject
27   matter hereof pursuant to 17 U.S.C. § 101, et seq., 28 U.S.C. §§ 1331 and 1338. Service
28   of process was properly made against Defendant James Peters, individually, doing

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 1   business as Trending Now Gifts and as Crafted with Love Gifts (“Defendant”);
 2         2.     Plaintiff L.A. Gem and Jewelry Design, Inc. (“LA Gem”) is the owner of
 3   U.S. Copyright Registration No. VA 1-889-369, “Design No. 451713,” issued on
 4   November 25, 2013 (“Mom Pendant No. 1”), which registration is valid and enforceable;
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 8         3.     LA Gem is the owner of U.S. Copyright Registration No. VA 1-949-421,
 9   “Design No. 442638,” issued on January 27, 2015 (the “Daughter Pendant”), which
10   registration is valid and enforceable;
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 2         4.     LA Gem alleged that Defendant willfully manufactured, distributed,
 3   duplicated, and/or sold jewelry products that infringed LA Gem’s copyright in the Mom
 4   Pendant No. 1 and Daughter Pendant, without regard to LA Gem’s proprietary rights;
 5         5.     LA Gem has not authorized Defendant to copy, reproduce, manufacture,
 6   duplicate, disseminate, or distribute the Mom Pendant No. 1, the Daughter Pendant, or
 7   any jewelry products substantially similar thereto;
 8         6.     Judgment is GRANTED and ENTERED against Defendant pursuant to the
 9   prayer of the Complaint on Plaintiff’s Fifth Cause of Action as set forth in the Complaint,
10   including its claims for (i) willful copyright infringement of the Mom Pendant No.1 and
11   Daughter Pendant copyrighted designs in violation of 17 U.S.C. § 501; and (ii)
12   contributory and vicarious copyright infringement of the Mom Pendant No. 1 and
13   Daughter Pendant copyrighted designs;
14         7.     Defendant created, designed, purchased, imported, distributed, offered for
15   sale and/or sold certain jewelry products bearing designs that willfully infringed the Mom
16   Pendant No. 1 and Daughter Pendant copyrighted designs;
17         8.     Defendant, his officers, agents, servants, employees and representatives and
18   all other persons, firms or corporations in active concert or participation with it, who
19   receive notice of this Order, are hereby enjoined, restrained, and prohibited from:
20                (a)    manufacturing, producing, selling, distributing or otherwise disposing
21                       of any jewelry that is in Peters’ possession, custody, and/or control
22                       that is substantially similar to LA Gem’s copyrighted Mom Pendant
23                       No.1 and Daughter Pendant designs; and
24                (b)    engaging in any other activity constituting an infringement of LA
25                       Gem’s copyrights of the Mom Pendant No. 1 and Daughter Pendant
26                       designs;
27         9.     Pursuant to the Copyright Act, 17 U.S.C. § 503, and the equitable powers of
28   this Court, Defendant is ordered to destroy all infringing copies of the Mom Pendant No.

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 1   1 and Daughter Pendant Designs and all molds by which such infringing copies were
 2   produced;
 3         10.    Defendant is liable to Plaintiff in the amount set forth in a confidential
 4   settlement agreement as a result of his willful copyright infringement of the Mom
 5   Pendant No. 1 and Daughter Pendant copyrighted designs;
 6         11.    Each side shall bear its own attorney’s fees and costs of suit;
 7         12.    This Consent Decree shall be deemed to have been served upon Defendant
 8   at the time of its execution by the Court;
 9         13.    The Court shall retain jurisdiction to enter such further orders as may be
10   necessary or appropriate to enforce this Consent Judgment.
11
12   IT IS SO ORDERED.
13
14           November 5, 2021
     DATED: ________________                       _________________________________
15                                                 John A. Kronstadt
                                                   United States District Judge
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